 AO440(acv 06/12) Summons maCivti Actton


                                  UNITED STATES DISTRICT COURT
                                                           for the
                                            Eastern District of North Carolina


   Greenfund, IM Nobody Music, Pimp Yug, My Blue             )
   Car Music Company, W Chappell Music Corp dba              )
    WC Music Corp, and Mark Hoppus dba HMNIM,                )
                                                             )
                         Plamttff(s)                         )
                                                                     Civil Action No.
                                                             )
    02 Holdings, LLC and Michael D. Olander, Jr,             )
                                                             )
                                                             )
                                                             )
                        Defendant(s)                         )

                                           SUMMONS IN A CIVIL ACTION

To: (Defendant's name andaddress) 02 Holdftlgs, LLC
                                  c/o Michael D. Olander, Jr., Registered Agent
                                  1025 Wade Avenue
                                  Raleigh, NC 27605




        A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff s attorney,
whose name and address are: Michael J. Allen
                                 Carruthers 8 Roth, P.A.
                                 235 N Edgeworth Street
                                 Greensboro, NC 27401



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                       CLERK OF COURT


Date:
                                                                                  Stgnature of Clerk or Deputy Clerk




               Case 5:25-cv-00356-FL             Document 1-2          Filed 06/23/25          Page 1 of 2
Ao 440 i Rev 06/12) summons iu a civil Action i psge 2)

 Civil Action No.

                                                            PROOF OF SERVICE
                       (Th(s section shouhl nol be fr(ed with the courl unless required by Fed. R. Civ. P. 4 (I))

           This summons for (name of mdividaol and tale, if any)
was received by me on (date)




             OI'I
           CI I personally served the summons on the individual at (place)




           on (date)

           CI I served the summons on (nome of mdividaal)
                                                                                  on (dais)

               I left the summons at the individual's residence or usual place of abode with (name)
                                                                                                                       ;




                                                                  , a person of suitable age and discretion who restdes there,

                                                    , and mailed a copy to the individual's last known address; or


                                                                                                                                       is




             OI'I
           designated by law to accept service of process on behalf of (name of orgamzaoon)



          C) I returned the summons unexecuted because


              Other (specify)




          My fees are $                            for travel and $


          I declare under penalty of perjury that this information is true.
                                                                                 on (daie)




                                                                                      for servtces, for a total of $
                                                                                                                           OI'ho




                                                                                                                            0 pp
                                                                                                                                   ;




Date:
                                                                                              Server's signature



                                                                                         printed name and title




                                                                                              Server's address

Addtttonal information regardmg attempted service, etc:




                  Case 5:25-cv-00356-FL                     Document 1-2          Filed 06/23/25              Page 2 of 2
